Case 2:16-ap-01374-ER          Doc 206 Filed 11/14/22 Entered 11/14/22 12:10:13                   Desc
                                 Main Document Page 1 of 2




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                                                                        CLERK U.S. BANKRUPTCY COURT
                                                                        Central District of California
                                                                        BY gonzalez DEPUTY CLERK




                 UNITED STATES BANKRUPTCY COURT
        CENTRAL DISTRICT OF CALIFORNIA—LOS ANGELES DIVISION
    In re:     Liberty Asset Management             Case No.: 2:16-bk-13575-ER
               Corporation, Debtor.                 Adv. No.: 2:16-ap-01374-ER
    Bradley D. Sharp, Plan Administrator for
                                                     ORDER: (1) DENYING FEE MOTION AND
    Liberty Asset Management Corporation,
                                                     (2) DISMISSING ACTION WITHOUT
                                          Plaintiff, PREJUDICE PURSUANT TO CIVIL RULE
                          v.                         41(A)(2)

    Tsai Luan Ho,
                                       Defendant.
                                                    [No hearing required pursuant to Federal Rule of
                                                    Civil Procedure 78(b) and Local Bankruptcy Rule
                                                    9013-1(j)(3)]

    For the reasons set forth in the concurrently-issued Memorandum of Decision: (1) Denying
Defendant’s Motion for Attorneys’ Fees and (2) Dismissing Action Without Prejudice Pursuant
to Civil Rule 41(a)(2) (the “Memorandum”), the Court HEREBY ORDERS AS FOLLOWS:

      1) Solely for the purpose of entry of this order, the above-captioned case is reopened, and
         the order entered on November 30, 2018 [Adv. Doc. No. 126] dismissing the action
         without prejudice is VACATED.
      2) The Fee Motion1 is DENIED.
      3) This action is DISMISSED WITHOUT PREJUDICE pursuant to Civil Rule 41(a)(2).
         All parties shall bear their own attorneys’ fees and costs.




1
    Capitalized terms not defined herein have the meaning set forth in the Memorandum.
Case 2:16-ap-01374-ER     Doc 206 Filed 11/14/22 Entered 11/14/22 12:10:13   Desc
                            Main Document Page 2 of 2



   IT IS SO ORDERED.
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    Date: November 14, 2022
